                         Case 19-11935-KHK            Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27             Desc Main
                                                               Document      Page 1 of 29


                                                       IN THE UNITED STATES BANKRUPTCY COURT
                                                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                                                 ALEXANDRIA DIVISION
                               In re:
                               WALLACE CHITTENDEN LYON, III,                                   CHAPTER 7
                                                DEBTOR.                                        CASE NO. 19-11935-KHK


                               PINGORA LOAN SERVICING, LLC,
                                          MOVANT,
                               vs.
                               WALLACE CHITTENDEN LYON, III
                               and DONALD F. KING, TRUSTEE,
                                                RESPONDENTS.
                                                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                                     (REAL PROPERTY LOCATED AT 5900 BOSTON DRIVE, FALLS CHURCH, VA 22041)
                                                                               NOTICE

                               YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS CAREFULLY AND DISCUSS THEM WITH
                               YOUR ATTORNEY, IF YOU HAVE ONE IN THIS BANKRUPTCY CASE. (IF YOU DO NOT HAVE AN ATTORNEY, YOU
                               MAY WISH TO CONSULT ONE.)

                               TO:      WALLACE CHITTENDEN LYON, III, DEBTOR
                                        DONALD F. KING, TRUSTEE

                               IF YOU DO NOT WISH THE COURT TO GRANT THE RELIEF SOUGHT IN THE MOTION, OR IF YOU WANT THE
                               COURT TO CONSIDER YOUR VIEWS ON THE MOTION, THEN WITHINFOURTEEN (14) DAYS FROM THE DATE OF
                               SERVICE OF THIS MOTION, YOU MUST FILE A WRITTEN RESPONSE EXPLAINING YOUR POSITION WITH THE
                               COURT AND SERVE A COPY ON THE MOVANT. UNLESS A WRITTEN RESPONSE IS FILED AND SERVED WITHIN
                               THIS FOURTEEN (14) DAY PERIOD, THE COURT MAY DEEM OPPOSITION WAIVED, TREAT THE MOTION AS
                               CONCEDED, AND ISSUE AN ORDER GRANTING THE REQUESTED RELIEF WITHOUT FURTHER NOTICE OR
                               HEARING.

                               IF YOU MAIL YOUR RESPONSE TO THE COURT FOR FILING, YOU MUST MAIL IT EARLY ENOUGH SO THE COURT
                               WILL RECEIVE IT ON OR BEFORE THE EXPIRATION OF THE FOURTEEN (14) DAY PERIOD.


                               THE PRELIMINARY HEARING IS SCHEDULED TO BE HELD ON AUGUST 21, 2019
                               AT 9:30 AM IN THE U.S. BANKRUPTCY COURT, ALEXANDRIA DIVISION, 200 S.
                               WASHINGTON STREET, ALEXANDRIA, VA 22314, COURTROOM III.
                                        Pingora Loan Servicing, LLC (“Movant”) hereby moves this Court, pursuant to 11 U.S.C.
                               §362, for relief from the automatic stay with respect to certain real property of the Debtor having
                               an address of 5900 Boston Drive, Falls Church, VA 22041 (the “Property”), for all purposes
                               allowed by the Note (defined below), the Deed of Trust (defined below),and applicable law,
                               including but not limited to the right to foreclose.     In further support of this Motion, Movant
                               respectfully states:
Johnie R. Muncy, Esquire
Counsel for Movant
Samuel I White, P.C.
Bar No. 73248
1804 Staples Mill Road
Suite 200
Richmond, VA 23230
(804) 290-4290
File No. 66807
Case 19-11935-KHK        Doc 11     Filed 07/23/19 Entered 07/23/19 12:16:27                Desc Main
                                   Document      Page 2 of 29


              1.      This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. §157 and
      §1334 and 11 U.S.C. §362(d), and this matter is a core proceeding.
              2.      A petition under Chapter 7 of the United States Bankruptcy Code was filed with
      respect to the Debtor on June 11, 2019.
              3.      The Debtor has executed and delivered or is otherwise obligated with respect to
      that certain promissory note in the original principal amount of $550,933.00 (the “Note”). A copy
      of the Note is attached hereto as Exhibit A.
              4.      Pursuant to that certain Deed of Trust (the “Deed of Trust”), all obligations
      (collectively, the “Obligations”) of the Debtor under and with respect to the Note and the Deed of
      Trust are secured by the Property and the other collateral described in the Deed of Trust. The
      lien created by the Deed of Trust was perfected by recording of the Deed of Trust in the office of
      the Clerk of the County of Fairfax, Virginia. A copy of the recorded Deed of Trust is attached
      hereto as Exhibit B.
              5.      The legal description of the Property is:
                      ALL THE FOLLOWING-DESCRIBED LOT OR PARCEL OF LAND
                      TOGETHER WITH IMPROVEMENTS THEREON, SITUATE, LYING
                      AND BEING IN THE CITY OF FALLS CHURCH, COUNTY OF
                      FAIRFAX, COMMONWEALTH OF VIRGINIA:

                      LOT SIX HUNDRED ELEVEN (611), BLOCK THREE-A (3-A),
                      SECTION FIVE (5), AND A RESUBDIVISION OF LOT TWENTY EIGHT
                      (28), GLEN ACRES SUBDIVISION; LOTS TEN (10) AND FIVE
                      HUNDRED ELEVEN (511), BLOCK THREE (3), SECTION TWO (2);
                      LOT THIRTEEN (13), FOURTEEN (14), AND OUT OF LOT A, BLOCK
                      THREE (3), SECTION FOUR (4), GLEN FOREST SUBDIVISION, AS
                      THE SAME IS DULY DEDICATED, PLATTED AND RECORDED IN
                      DEED BOOK 1559 AT PAGE 440 OF THE LAND RECORDS OF
                      FAIRFAX COUNTY, VIRGINIA.
                                           P.I.D#: <REDACTED>

              6.      Flagstar Bank, FSB is servicing agent for the Movant.
              7.      The Debtor’s Statement of Intention indicates the Property is to be surrendered.
              8.      As of July 19, 2019, the unpaid principal balance due is $540,133.15 and the
      approximate outstanding amount of Obligations less any partial payments or suspense balance is
      $594,005.54.
              9.      The following chart sets forth the number and amount of payments due pursuant
      to the terms of the Note as of July 19, 2019:
        Number of            From               To                Monthly Payment      Total Payments
        Payments                                                  Amount
        12                   09/01/2017         08/01/2018        $3,034.95            $36,419.40
        11                   09/01/2018         07/01/2019        $3,082.70            $33,909.70
        Less partial payments:                                                         ($0.00)
                                                                              Total:   $70,329.10
Case 19-11935-KHK            Doc 11      Filed 07/23/19 Entered 07/23/19 12:16:27                   Desc Main
                                        Document      Page 3 of 29


              10.          As of July 19, 2019, the total arrearage/delinquency is $75,649.00, consisting of
      (i) the foregoing total of payments in the amount of $70,329.10, plus (ii) the following fees:
              Fee Description                                            Amount
              Late Charges                                               $607.00
              Property Inspections                                       $266.25
              Appraisal/BPO                                              $575.00
              Foreclosure Fees and Costs                                 $3,871.64

              11.          In addition to the other amounts due to Movant reflected in this Motion, as of the
      date hereof, in connection with seeking the relief requested in this Motion, Movant has also
      incurred $831.00 in legal fees and costs.
              12.          The estimated value of the Property is $528,810.00. The basis for such valuation
      is: Tax Assessment, a copy of which is attached hereto as Exhibit C.
              13.          Cause exists for relief from the automatic stay for the following reasons:
                     i.            Movant’s interest in the Property is not adequately protected.
                     ii.           Pursuant to 11 U.S.C. §362(d)(2)(A), the Debtor has no equity in the
                                   Property; and pursuant to §362(d)(2)(B), the Property is not necessary
                                   for an effective reorganization.
              WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the
      stay and granting the following:
              1.           Relief from the stay for all purposes allowed by applicable law, the Note, and the
      Deed of Trust, including but not limited to allowing Movant to proceed under applicable non-
      bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the Property
      and any and all other collateral pledged under the Deed of Trust.
              2.           That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.
              3.           For such other relief as the Court deems proper.


              Dated: July 23, 2019

                                                           PINGORA LOAN SERVICING, LLC


                                                           By:/s/JOHNIE R. MUNCY
                                                           Eric D. White, Esquire, Bar No. 21346
                                                           Michael T. Freeman, Esquire, Bar No. 65460
                                                           Brandon R. Jordan, Esquire, Bar No. 72170
                                                           Johnie R. Muncy, Esquire, Bar No. 73248
                                                           Nisha R. Patel, Esquire, Bar No. 83302
                                                           Samuel I. White, P.C.
                                                           1804 Staples Mill Road
                                                           Suite 200
                                                           Richmond, VA 23230
                                                           Tel.: (804) 290-4290
                                                           Fax: (804) 290-4298
                                                           jmuncy@siwpc.com
Case 19-11935-KHK        Doc 11     Filed 07/23/19 Entered 07/23/19 12:16:27                  Desc Main
                                   Document      Page 4 of 29



                                        CERTIFICATE OF SERVICE

              I certify that on July 23, 2019, the foregoing Motion was served via CM/ECF on Donald F.
      King, Trustee, and Jeffery T. Martin, Jr., Counsel for Debtor, at the email addresses registered with
      the Court, and that a true copy was mailed via first class mail, postage prepaid, to Wallace
      Chittenden Lyon, III, Debtor, 5900 Boston Drive, Falls Church, VA 22041.

                                                       /s/JOHNIE R. MUNCY
                                                       Johnie R. Muncy, Esquire
                                                       Samuel I. White, P. C.
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document      Page 5 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document      Page 6 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document      Page 7 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document      Page 8 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document      Page 9 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 10 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 11 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 12 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 13 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 14 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 15 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 16 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 17 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 18 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 19 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 20 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 21 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 22 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 23 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 24 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 25 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 26 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 27 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 28 of 29
Case 19-11935-KHK   Doc 11    Filed 07/23/19 Entered 07/23/19 12:16:27   Desc Main
                             Document     Page 29 of 29
